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       Exhibit H
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2/1/24, 6:16 PM - +1 (956) 609-0308: Como
2/1/24, 6:19 PM - .olga Perez: Si. La debieron Aver mandado para que no digamos que
era falsa. Queeeee? Jajaja
2/1/24, 6:23 PM - +1 (956) 510-9964: Haha
2/1/24, 6:24 PM - Hector Manager: Pss a mi nanais
2/1/24, 6:27 PM - +1 (956) 510-9964: Será prudente utilizarla?
2/13/24, 10:54 AM - .olga Perez: Mmm. Nadie saluda, que tal. Heeeeee ,!!!!!!!!!
y bueno que Alguien ha. Tenido algún comentario con Valde. Alguien le a Marcado
para Ver Como Andamos. De Noticias. ???Companeros,
Hola. Buenos días ☀ 🌞🌞 <This message was edited>
2/13/24, 11:09 AM - +1 (956) 313-8224: STK-20231117-WA0001.webp (file attached)
2/13/24, 1:59 PM - +1 (956) 356-0451: Buenas tardes a todos. Una pregunta para todo
el grupo, como bien saben el jueves hay reunión de abogados y se está oyendo un Run
Run de que Delia's quiere negociar. Ya saben que cantidad se va a negociar ? O como
va ser ésto, porque se está oyendo que se van arreglar ya !!!
2/13/24, 3:20 PM - +1 (956) 600-0207: Yo able con balde y fue lo que me dijo que al
parecer ya quieren llegar a un arregló
2/13/24, 3:28 PM - +1 (956) 715-4571: lo más interesante es un PERMISO DE TRABAJO..
muchachos el dinero se gasta y volvemos a lo mismo..
2/13/24, 3:29 PM - +1 (956) 715-4571: Con permiso cambia toda el show.... ese que
nos darán lo puedes hacer trabajando bien...
2/13/24, 3:30 PM - +1 (956) 715-4571: Así pienso yo... obviamente todos tienen
diferentes necesidades..
2/13/24, 3:31 PM - +1 (956) 715-4571: Pero que padre sería poder trabajar legamente
y poder andar bien con licencia, ir donde quieres sin problema...
2/13/24, 3:32 PM - +1 (956) 715-4571: Hay que ponernos pilas con eso del permiso....
mi tía acaba de ganar un cazo asiii con ese y le dieron 50 mil y RECIDENCIA.
2/13/24, 3:33 PM - +1 (956) 715-4571: So si es POSIBLE... lo acabo de comprobar..
2/13/24, 8:04 PM - Hector Manager: Eso te dijo??? Eso es bueno
2/14/24, 1:52 PM - .olga Perez: <Media omitted>
Feliz día 14. Febrero a todos
2/14/24, 2:02 PM - +1 (956) 313-8224: STK-20240214-WA0015.webp (file attached)
2/15/24, 5:11 PM - +1 (956) 356-0451: Alguien tiene una novedad de lo de hoy con los
abogados
2/15/24, 7:06 PM - +1 (956) 313-8224: STK-20240215-WA0013.webp (file attached)
2/15/24, 7:08 PM - .olga Perez: No. Sabía, que hubo hoy??
2/19/24, 5:32 PM - +1 (775) 507-1717: Hola buenas tarde compañero able con el
abogado Balde y no quedaron en nada me dijo a mi que yo le ablara el jueves y que
llevara los talones de cheque para ver si me deben horas y yo le respondi que de eso
no se traraba que el peleara por descriminacion y me dijo que el jueves el me va
decir que dia para darmw una cita en su oficina.esta raro esto.
2/19/24, 5:33 PM - +1 (956) 313-8224: 😳
2/19/24, 6:01 PM - .olga Perez: 🤫🤫🤫🤫
2/19/24, 6:28 PM - +1 (956) 510-5974: Hay k ir hablar con el abogado aver k esta
pasando por k nada Mas nos estan disiendo en trenta dias en 60 dias y nada
2/19/24, 6:29 PM - +1 (956) 600-0207: Es cierto hay que ir por qué ya fue mucho y no
hay respuesta
2/19/24, 9:06 PM - +1 (956) 715-4571: Mmmm 🤔 no olviden que el DINERO cambia asta
al más Onesto... pero si algo NO anda bien.. tenemos que ir
2/22/24, 3:45 PM - +1 (956) 658-0513: Hola buenas tardes




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                              P. 69 Translation

2/13/24, 3:20 PM - +1 (956) 600-0207 [Plaintiff Mauricio Sanchez]: I spoke
with balde and he told me that it looks like they want to come to a resolution.

2/13/24, 3:28 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: the biggest
interest is WORK PERMIT..guys money gets spent and we return to the
same..

2/13/24, 3:29 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: With a permit
the whole show changes…if we get that we can work right

2/13/24, 3:30 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: That is what I
think…obviously everyone has different needs..

2/13/24, 3:31 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: But how cool
it would it be to work legally and be able to get around with a license, go
where you want without problems…

2/13/24, 3:32 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: We need to
get our act together with the subject of a permit….my aunt just won a case
like that and she got 50 thousand and RESIDENCY.

2/13/24, 3:33 PM - +1 (956) 715-4571 [Plaintiff Jorge Mauleon]: So it is
POSSIBLE…i just confirmed it..

2/13/24, 8:04 PM - Hector Manager [Plaintiff Hector Gonzlez]: That’s what
you were told??? That is Good.
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4/11/24, 10:06 AM - Hector Manager:
4/11/24, 10:06 AM - Hector Manager: Ahi estaremos
4/11/24, 10:08 AM - +1 (956) 438-2231: 👍
4/11/24, 4:29 PM - +1 (956) 356-0451: 👍
4/11/24, 4:52 PM - +1 (956) 510-5974: Hola van a ir por partes o nada Mas unos
cuanto
4/12/24, 8:24 AM - +1 (956) 356-0451: Buenos días esperemos que hoy sea un gran día
para todos primero Dios y a darle
4/12/24, 8:25 AM - +1 (956) 510-5974: Buen dia a todos 🙏🙏
4/16/24, 9:55 AM - Rosendo: Buen dia, me dijo el sen̈or balde que vallan a llenar un
cuestionario los q falten y a firmar otro documento q falta, esta semana, gracias.
4/16/24, 11:06 AM - +1 (956) 356-0451: Rosendo no te dijo como le fue ayer en la
reunión que tuvo
4/16/24, 1:08 PM - Rosendo: Dijo q iban a tener junta los abogados hoy en houston.
4/16/24, 1:29 PM - +1 (956) 356-0451: Ok
4/17/24, 11:30 AM - +1 (956) 252-9033: IMG-20240417-WA0021.jpg (file attached)
Buenas tardes dice Valde que se presenten a firmar estos son los nombres de las
personas que faltan
4/17/24, 11:30 AM - +1 (956) 252-9033: Que sea hoy o más tardar mañana porque
necesita entregar los papeles para el viernes
4/17/24, 11:57 AM - Rosendo: Gracias
4/17/24, 11:58 AM - +1 (956) 313-8224:
4/17/24, 12:44 PM - +1 (956) 510-5974: Ok gracias hoy boy
4/18/24, 3:09 PM - Lourdes: Ya fui a firmar ✍
4/23/24, 10:23 AM - +1 (956) 313-8224: Buenos Dias. acabo de hablar con Valde dijo
que los de Delias ya le dijeron que no quieren arreglar nada que se iran a corte
hasta el 2025 y que hay muchas personas que no deben estar en la demanda.
4/23/24, 10:51 AM - +1 (956) 715-4571: Puff hora si vamos para largo
4/23/24, 10:54 AM - +1 (956) 438-6958: A mí me dijo lo mismo que lo que ellos
quieren es sacar gente y entre menos quedan mejor es según ellos
4/23/24, 10:57 AM - .olga Perez: Upposssss
4/23/24, 11:12 AM - +1 (956) 313-8224: solo se quedaran en la demanda los que nunca
les pagaron overtime!!   ♂
4/23/24, 11:12 AM - +1 (956) 313-8224: osea que a la mayoria ya nos cargo el 🤡🤡
4/23/24, 11:13 AM - +1 (956) 715-4571: Mmm algo anda raro hay..
4/23/24, 11:15 AM - +1 (956) 510-5974: Buenos dias pues hay k aser una reunion para
k Valdesm nos explique k esta pasando porque nos dise una cosa y al otro dia ya
cambio de opinion y no es asi
4/23/24, 11:21 AM - .olga Perez: Claro. Pues.     La reunión quien la organiza
peroooo. Que todos vallamos. Sin falta todos. Todossssss
4/23/24, 11:25 AM - +1 (956) 609-0308: This message was deleted
4/23/24, 11:27 AM - .olga Perez: Pero que estén los tres abogados. Richard y
Douglas y Valde
4/23/24, 11:28 AM - +1 (956) 438-6958: Pues si
4/23/24, 11:28 AM - +1 (956) 438-6958: Así deve de ser
4/23/24, 11:32 AM - Hector Manager: Alguien ha consultado algun otro abogado? Antes
o durante la demanda? Pregunto esto porque queremos saber si en realidad hay caso o
solo nos han estado jugando el dedo
4/23/24, 11:33 AM - Hector Manager: Porque empezamos que el caso seria por el.dinero
que nos quitaban del IRS y ahora andamos por horas no pagadas, cada uno de nosotros




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                             P. 73 Translation

4/23/24, 11:32 AM - Hector Manager [Plaintiff Hector Gonzalez]: Has anyone
consulted with another attorney? Before or after the lawsuit? I am asking
this because we want to know if in reality there is a case or if they are just
pulling our finger.
